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 1                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF PUERTO RICO
 2
 3
          UNITED STATES OF AMERICA,
 4
                          Plaintiff,
 5
                              v.
 6                                                                        CRIMINAL:15-254 (CCC)
 7        [17] NADEL GARRAFA-LEBRÓN,

 8                       Defendant.
 9
10                              REPORT AND RECOMMENDATION
                           RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)
11
     I.      Procedural Background
12
             On April 16, 2015, a grand jury returned an indictment against [17] Nadel Garrafa-Lebrón
13
     (hereinafter referred to as “defendant”) and other persons. ECF No. 3. The defendant has agreed to plead
14
     guilty to count one of the indictment. Count one charges that, beginning on a date unknown, but no later
15
     than in or about the year 2010, and continuing up to and until the return of the indictment, in the
16
     Municipality of Patillas, District of Puerto Rico and within the jurisdiction of this court, the defendant
17
     knowingly and intentionally combined, conspired, and agreed with other persons known and unknown
18
     to the grand jury, to commit an offense against the United States, that is, to knowingly and intentionally
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     possess with intent to distribute and /or to distribute controlled substances, to wit: in excess of two
20
     hundred eighty (280) grams of a mixture or substance containing a detectable amount of cocaine base
21
     (crack), a Schedule II Narcotic Drug Controlled Substance; in excess of five (5) kilograms of a mixture
22
     or substance containing a detectable amount of cocaine, a Schedule II, Narcotic Drug Controlled
23
     Substance; a mixture or substance containing a detectable amount of marijuana, a Schedule I Narcotic
24
     Drug Controlled Substance; a mixture or substance containing a detectable amount of Oxycodone
25
     (commonly known as Percocet), a Schedule II Controlled Substance; and a mixture or substance
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     containing a detectable amount of Alprazolam (commonly known as Xanax), a Schedule IV Controlled
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     Substance; within one thousand (1,000) feet of the real property comprising the Villas del Caribe Public
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 1                                                        2
 2 Housing Project, a housing facility owned by a public housing authority, Villa Real Public Housing
 3 Project, a housing facility owned by a public housing authority, Esmeralda del Sur Housing Project,
 4 Calle Las Flores, El Pueblito, La Quebrada and the Providencia Ward located within the Municipality
 5 of Patillas, Puerto Rico, all in violation of Title 21, United States Code, Sections 841(a)(1), 846 and 860.
 6 II.        Consent to Proceed Before a Magistrate Judge
 7            On February 10, 2016, while assisted by counsel, the defendant, by consent, appeared before the
 8 undersigned in order to change his previous not guilty plea to a plea of guilty as to count one of the
 9 indictment. In open court the defendant was questioned as to the purpose of the hearing being held and
10 was advised of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries were to be
11 conducted under oath and that it was expected that his answers would be truthful; (c) the potential
12 consequences of lying under oath (such as a perjury charge); and (d) his right to have the change of plea
13 proceedings presided by a district judge instead of a magistrate judge. The defendant was also explained
14 the differences between the appointment and functions of the two. The defendant consented to proceed
15 before the undersigned magistrate judge.
16 III.       Proceedings Under Rule 11, Federal Rules of Criminal Procedure
17            A. Rule 11(c)(1) Requirements
18                    Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of
              guilty pleas to federal criminal violations. Pursuant to Rule 11, in order for a plea of
19            guilty to constitute a valid waiver of the defendant’s right to trial, guilty pleas must be
              knowing and voluntary: “Rule 11 was intended to ensure that a defendant who pleads
20            guilty does so with an ‘understanding of the nature of the charge and consequences of his
              plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting McCarthy v.
21            United States, 394 U.S. 459, 467 (1969)). [There are three core concerns in these
              proceedings]: 1) absence of coercion; 2) understanding of the charges; and 3) knowledge
22            of the consequences of the guilty plea. United States v. Cotal-Crespo, 47 F.3d at 4 (citing
              United States v. Allard, 926 F.2d 1237, 1244-45 (1st Cir. 1991)).
23
              United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
24
              B. Admonishment of Constitutional Rights
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              To assure defendant’s understanding and awareness of his rights, defendant was advised of his
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     right:
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 2           1.   To remain silent at trial and be presumed innocent, since it is the government who has the
 3 burden of proving his guilt beyond a reasonable doubt.
 4           2.   To testify or not to testify at trial, and that no adverse inference could be made in relation
 5 to his decision not to testify.
 6           3.   To a speedy trial before a district judge and a jury, at which he would be entitled to see and
 7 cross examine the government witnesses, present evidence on his behalf, and challenge the government’s
 8 evidence.
 9           4.   To have a unanimous verdict rendered by a jury of twelve persons which would have to be
10 convinced of defendant’s guilt beyond a reasonable doubt by means of admissible evidence.
11           5.   To use the subpoena power of the court to compel the attendance of witnesses.
12           Upon listening to the defendant’s responses, observing his demeanor and his speaking with his
13 attorney, that to the best of counsel’s belief defendant had fully understood his rights, it is determined
14 that defendant is aware of his constitutional rights.
15           C. Consequences of Pleading Guilty
16           Upon advising defendant of his constitutional rights, he was further advised of the consequences
17 of pleading guilty. Specifically, defendant was advised that by pleading guilty and upon having his guilty
18 plea accepted by the court, he will be giving up the above rights and will be convicted solely on his
19 statement that he is guilty.
20           In response to further questioning, defendant was explained and he understood that if convicted
21 on count one as charged he will face the following penalties: a term of imprisonment of not less than ten
22 (10) years and not more than twice life imprisonment, a fine not to exceed twenty million dollars
23 ($20,000,000), and a term of supervised release of at least ten (10) years, but not more than life.
24 However, if the court accepts the defendant’s guilty plea and if the court accepts the amount of narcotics
25 stipulated by the parties in the plea agreement, that is at least two (2) but less than three point five (3.5)
26 kilograms of cocaine, the penalties for the offense shall be the following: a term of imprisonment of not
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 2 less than five (5) years and not more than eighty (80) years, a fine not to exceed ten million dollars
 3 ($10,000,000), and a term of supervised release of at least eight (8) years, but not more than life.
 4             The defendant was explained what the supervised release term means and was also made aware
 5 that the court must impose a mandatory penalty assessment of one hundred dollars ($100) per offense
 6 pursuant Title 18, United States Code, Section 3013(a).
 7             The defendant was advised that the ultimate sentence was a matter solely for the court to decide
 8 in its discretion and that, even if the maximum imprisonment term and fine were to be imposed upon
 9 him, he later could not withdraw his guilty plea for that reason alone. Furthermore, the defendant was
10 admonished of the fact that by pleading guilty he would not be allowed later on to withdraw his plea
11 because he eventually might disagree with the sentence imposed, and that if he violates the conditions
12 of supervised release, that privilege could be revoked and he could be required to serve an additional
13 term of imprisonment. He was also explained that parole has been abolished. The defendant understood
14 this.
15             D. Plea Agreement1
16             The parties have entered into a written plea agreement that, upon being signed by the
17 government, defense attorney and defendant, was filed and made part of the record. Defendant was
18 clearly warned and recognized having understood that:
19             1.   The plea agreement is not binding upon the sentencing court.
20             2.   The plea agreement is an agreement between the defendant, defense counsel and the attorney
21 for the government which is presented as a recommendation to the court in regards to the applicable
22 sentencing adjustments and guidelines, which are advisory.
23             3.   The agreement provides a sentencing recommendation and/or anticipated sentencing
24 guideline computation, that can be either accepted or rejected by the sentencing court.
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                     “Plea agreement” refers to the agreement and its supplement.
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 1                                                      5
 2          4.   In spite of the plea agreement and any sentencing recommendation contained therein, the
 3 sentencing court retains full discretion to reject such plea agreement and impose any sentence up to the
 4 maximum possible penalty prescribed by statute.
 5          Defendant acknowledged having understood this explanation.
 6          E. Government's Evidence (Basis in Fact)
 7          The government presented a proffer of its evidence consistent with the version of facts of the plea
 8 agreement with which the defendant concurred. Accordingly, it is determined that there is a basis in fact
 9 and evidence to establish all the elements of the offense charged.
10          F. Voluntariness
11          The defendant accepted that no threats had been made to induce him to plead guilty and that he
12 did not feel pressured to plead guilty.
13          G. Waiver of Appeal
14          The defendant was explained, and he understood, that if the court accepts the plea agreement and
15 sentences him according to its terms, conditions and recommendations, he will be surrendering his right
16 to appeal the sentence and judgment in this case.
17   IV.    Conclusion
18          The defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of
19 Criminal Procedure, and has entered a plea of guilty as to count one of the indictment. After cautioning
20 and examining the defendant under oath and in open court, concerning each of the subject matters
21 mentioned in Rule 11, as described in the preceding sections, I find that defendant is competent to enter
22 this guilty plea, is aware of the nature of the offense charged and the maximum statutory penalties that
23 the same carries, understands that the charge is supported by the government’s evidence, has admitted
24 to every element of the offense charged, and has done so in an intelligent and voluntary manner with full
25 knowledge of the consequences of his guilty plea. Therefore, I recommend that the court accept the
26 guilty plea of the defendant and that the defendant be adjudged guilty as to count one of the indictment.
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 2          This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B). Any objections

 3 to the same must be specific and must be filed with the Clerk of Court within fourteen (14) days of its
 4 receipt. Fed. R. Civ. P. 72(b). Failure to timely file specific objections to the report and recommendation
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 5 is a waiver of the right to review by the district court. United States v. Valencia-Copete, 792 F.2d 4 (1
 6 Cir. 1986).
 7          SO RECOMMENDED.

 8          In San Juan, Puerto Rico, this 16th day of February, 2016.

 9                                                 s/Marcos E. López
                                                   U.S. MAGISTRATE JUDGE
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